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                               and ORDER
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            Reno, Nevada
            Dated this 1st day of July, 2009.
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